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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                           WESTERN DIVISION



FANNIE HIGHTOWER,

      Plaintiff,
                                                No. 12-3042-JDT-dkv

vs.

CAPITAL ONE AUTO FINANCE
and JOHN DOES 1-20,

     Defendants.
__________________________________________________________________

        REPORT AND RECOMMENDATION FOR SUA SPONTE DISMISSAL
_________________________________________________________________

      On December 4, 2012, the plaintiff, Fannie Hightower, filed a

pro se complaint alleging that the defendant, Capital One Auto

Finance (“Capital One”), threatened to repossess her Mercedes C

Class automobile,     (Compl., D.E. 1, ¶¶ 6, 24,) accompanied by a

motion seeking leave to proceed in forma pauperis, (Mot., D.E. 2).1

On December 6, 2012, the court issued an order granting Hightower

leave to proceed in forma pauperis, (Order, D.E. 3), and referred

the case to the pro se staff attorney for screening.         This case has

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        Hightower also named “Does 1-20” as defendants. Service of
process cannot be made on unnamed or fictitious parties. The filing
of a complaint against “John Doe” defendants does not toll the
running of the statute of limitations against those parties. See
Cox v. Treadway, 75 F.3d 230, 240 (6th Cir. 1996); Bufalino v.
Michigan Bell Telephone Co., 404 F.2d 1023, 1028 (6th Cir. 1968).
Accordingly, it is recommended that the complaint be dismissed
against the John Doe defendants.
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now been referred to the United States Magistrate Judge for

management and for all pretrial matters for determination and/or

report and recommendation as appropriate.        (Order Referring Cases,

D.E. 4.)   For the reasons that follow, it is recommended that this

case be dismissed.

                     I.   PROPOSED FINDINGS OF FACT

     Hightower’s complaint is styled as a “COMPLAINT TO RESTRICT

AND PROHIBIT REPOSESSION [sic] AND SALE; VIOLATION OF ELECTRONIC

FUND TRANSFERS ACT “EFTA”, VIOLATION OF FAIR DEBT COLLECTION

PRACTICES ACT “FDCPA”, VIOLATION OF CONSUMER CREDIT PROTECTION ACT,

EXTORTION AND FRAUD.”     (Compl., D.E. 1 at 1.)       Hightower “invokes

the jurisdiction of this court pursuant to 28 USC [sic] Section

1343(A)(3)(4), Section 1331, and pursuant to the 14th Amendment,

Title 42 USC Section. [sic] 1983, and the Civil Rights Act of

1870.” (Id. at 2.)

     The complaint alleges that Hightower is “a natural person who

resides at c/o 4017 Clubview Drive, Memphis [Near 38125] Tennessee

republic,” (id. ¶ 1), and that Capital One is “headquartered in

Plano, Texas.” (id. ¶ 2).         Hightower further alleges that her

causes of action arose in the Western District of Tennessee, (id.

at 2), and that she invokes “the powers and protections of the

Constitution and Bill of Rights of the State of Tennessee and the

Constitution and Bill of Rights of the United States of America.”

(id.)


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     In her complaint, she alleges that on February 21, 2007, she

purchased a Mercedes Class C automobile and financed the purchase

with Capital One.        (Id. ¶ 6.)    Pursuant to a conditional sales

contract, she was obligated to pay $534.80 per month for seventy-

three months.    (Id.)    Hightower made regular payments until August

15, 2012.    (Id. ¶ 7.)     Hightower further alleges that on July 27,

2012, she attempted to pay the remaining balance of $5,114.98 to

Capital One by an electronic funds transfer (“EFT”) sent by

certified mail, (id. ¶ 8, 16), and that Capital One refused to

accept the EFT (id. ¶ 17), stating that “[w]e               are unable to

process your check payment as requested.” (Id.)            Attached to the

complaint as an exhibit is the front side of an item that appears

to be a check from Terry Wayne Green on a Regions Bank account in

the amount of $5,114.98, but which is marked “EFT ONLY DISCHARGE OF

DEBT,” “acct #336564." (Id. at 21.) Hightower alleges that Capital

One failed to return the alleged EFT instrument. (Id. ¶ 10).

Hightower contends that Capital One’s refusal to credit her account

or return the EFT instrument has discharged her debt.                  (Id.)

Although Hightower alleges Capital One failed to return the EFT

instrument, she also quotes from the letter she received from

Capital One that is attached to the complaint as an exhibit which

states, “Enclosed is the original check we received.”          (Id. ¶ 17.)

     The complaint sets forth the following causes of action: (1)

extortion;   (2)   fraud;    (3)   violation   of   the   Electronic   Funds


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Transfer Act; (4) violation of the Fair Debt Collection Practices

Act; and (5) violation of Consumer Credit Protection Act.            (Id. ¶¶

16-39.)

       Hightower   seeks    compensatory   damages    in   the   amount   of

$5,114.98 and punitive damages in the amount of $150,000.            (Id. at

18.)     She also seeks declaratory relief, (id. ¶¶ 12-15), and

injunctive relief, (id. ¶¶ 41-48).

       In short, the crux of Hightower’s complaint is that she

financed a Mercedes Class C automobile in 2007, made some payments,

drove around in the car for over five years, stopped making

payments, and attempted to pay off the remaining debt with an

“electronic fund transfer” sent by certified mail. Hightower wants

the court to reward her default on the debt by declaring the debt

discharged and awarding her more money than the car was worth at

the time she stopped making payments.

                   II.     PROPOSED CONCLUSIONS OF LAW

A.     28 USC 1915(e)(2) Screening

       Pursuant to Local Rule 4.1(a), service will not issue in a pro

se case where the pro se plaintiff has been granted leave to

proceed in forma pauperis until the complaint has been screened

under 28 U.S.C. § 1915(e)(2). The Clerk is authorized to issue

summonses to pro se litigants only after that review is complete

and an order of the court issues. The court is required to screen




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in forma pauperis complaints and to dismiss any complaint, or any

portion thereof, if the action —

     (i)           is frivolous or malicious;

     (ii)      fails to state a claim on which relief may be
     granted; or

     (iii)     seeks monetary relief against a defendant who
     is immune from such relief.

28 U.S.C. § 1915(e)(2).           This report and recommendation will

constitute the court’s screening.

B.   Standard of Review for Failure to State a Claim

     In assessing whether the complaint states a claim upon which

relief may be granted, the court applies the standards under Rule

12(b)(6) of the Federal Rules of Civil Procedure, as stated in

Ashcroft v. Iqbal, 556 U.S. 662, 677-79 (2009) and in Bell Atlantic

Corp. v. Twombly, 550 U.S. 544, 555-57 (2007).                   “Accepting all

well-pleaded allegations in the complaint as true, the court

considers the factual allegations in [the] complaint to determine

if they plausibly suggest an entitlement to relief.”                  Willams v.

Curtin , 631 F.3d 380, 383 (6th Cir. 2011). “[P]leadings that . .

. are no more than conclusions[] are not entitled to the assumption

of truth.    While legal conclusions can provide the framework of a

complaint, they must be supported by factual allegations.” Iqbal,

556 U.S. at 679; see also Twombly, 550 U.S. at 555 n.3 (“Rule

8(a)(2)    still   requires   a    ‘showing,’         rather   than   a    blanket

assertion,    of    entitlement    to       relief.    Without    some     factual


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allegation in the complaint, it is hard to see how a claimant could

satisfy the requirement of providing not only ‘fair notice’ of the

nature   of   the     claim,    but   also       ‘grounds’        on    which       the   claim

rests.”).

     Rule 8(a)(2) requires “[a] pleading that states a claim for

relief” to contain “a short and plain statement of the claim

showing that the pleader is entitled to relief.”                            Fed. R. Civ. P.

8*(a)(2).        “A     .   .   .     complaint           must     be       presented      with

intelligibility        sufficient     for       a   court    or     opposing        party    to

understand whether a valid claim is presented and if so what it is.

And it must be presented with clarity sufficient to avoid requiring

a district court or opposing party to forever sift through its

pages in search of that understanding.” Jennings v. Emry, 910 F.2d

1434, 1436 (7th Cir. 1990)(citation omitted)(internal quotation

marks omitted).

     “Pro se complaints are to be held to less stringent standards

than formal pleadings drafted by lawyers, and should therefore be

liberally     construed.”           Williams,       631     F.3d       at    383    (internal

quotation marks omitted).              Pro se litigants, however, are not

exempt   from    the    requirements        of      the    Federal          Rules   of    Civil

Procedure.      Wells v. Brown, 891 F.2d 591, 594 (6th Cir. 1989); see

also Brown v. Matauszak, 415 Fed. App’x 608, 613 (6th Cir. 2011)

(“[A] court cannot create a claim which [a plaintiff] has not

spelled out in his pleading”) (internal quotation marks omitted);


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Payne v. Sec’y of Treas., 73 Fed. App’x 836, 837 (6th Cir.

2003)(affirming sua sponte dismissal of complaint pursuant to Fed.

R. Civ. P. 8(a)(2) and stating, “[n]either this court nor the

district court is required to create Payne’s claim for her”); cf.

Pliler v. Ford, 542 U.S. 225, 231 (2004)(“District judges have no

obligation to act as counsel or paralegal to pro se litigants.”);

Young Bok Song v. Gipson, 423 Fed. App’x 506, 510 (6th Cir. 2011)

(“[W]e decline to affirmatively require courts to ferret out the

strongest cause of action on behalf of pro se litigants. Not only

would that duty be overly burdensome, it would transform the courts

from neutral arbiters of disputes into advocates for a particular

party.    While courts are properly charged with protecting the

rights of all who come before it, that responsibility does not

encompass advising litigants as to what legal theories they should

pursue.”).

C.   Subject-Matter Jurisdiction

     As an initial matter, the court must determine whether it has

subject-matter jurisdiction over this action. “Federal courts are

courts of limited jurisdiction.          They possess only that power

authorized by Constitution and statute, which is not to be expanded

by judicial decree.    It is to be presumed that a cause lies outside

this limited jurisdiction, and the burden of establishing the

contrary rests upon the party asserting jurisdiction.” Kokkonen v.

Guardian Life Ins. Co., 511 U.S. 375, 377 (1994); see also Bender


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v. Williamsport Area Sch. Dist., 475 U.S. 534, 541 (1986)(“Federal

courts are not courts of general jurisdiction; they have only the

power that is authorized by Article III of the Constitution and the

statutes enacted by Congress pursuant thereto.”); Ins. Corp. of

Ireland, Ltd. v. Compagnie des Bauxites de Guinee, 456 U.S. 694,

701 (1982) (“Federal courts are courts of limited jurisdiction.

The character of the controversies over which federal judicial

authority may extend are delineated in Art. III, § 2, cl. 1.

Jurisdiction of the lower federal courts is further limited to

those   subjects     encompassed     within    a   statutory        grant   of

jurisdiction.”); Owen Equip. & Erection Co. v. Kroger, 437 U.S.

365, 374 (“It is a fundamental precept that federal courts are

courts of limited jurisdiction.”).        Federal courts are obliged to

act sua sponte whenever a question about jurisdiction arises. See,

e.g., Ins. Corp. of Ireland, Ltd., 456 U.S. at 702 (stating that “a

court, including an appellate court, will raise lack of subject-

matter jurisdiction on its own motion”); St. Paul Mercury Indem.

Co. v. Red Cab Co., 303 U.S. 283, 287 n.10 (1938); Answers in

Genesis, Inc. v. Creation Ministries Int’l, Ltd., 556 F.3d 459, 465

(6th Cir. 2009)(“[F]ederal courts have a duty to consider their

subject matter jurisdiction in regard to every case and may raise

the issue sua sponte.”).      Under Rule 12(h)(3) of the Federal Rules

of Civil Procedure, “[i]f the court determines at any time that it

lacks subject-matter jurisdiction, the court must dismiss the


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action.”

     In her complaint, Hightower alleges the following bases for

this court’s jurisdiction:

     Plaintiff . . . invokes the jurisdiction of this court
     pursuant to Title 28 USC [sic] Section 1343(A)(3)(4),
     Section 1331, and pursuant to the 14th Amendment, Title
     42 USC Section. [sic] 1983, and the Civil Rights Act of
     1870.

(Compl., D.E. 1 at 2.) As discussed below, these federal statutes

cited by Hightower are insufficient to confer subject matter

jurisdiction.

     1.    Jurisdiction under 28 U.S.C. § 1343(4)

     Hightower first cites as a basis for jurisdiction 28 U.S.C. §

1343(4),   which   confers   federal     jurisdiction   over   suits   “[t]o

recover damages or to secure equitable or other relief under any

Act of Congress providing for the protection of civil rights,

including the right to vote.” 28 U.S.C. § 1343(a)(4). The Supreme

Court has rejected the position that § 1343(4), now § 1343(a)(4),

“encompass[es] all federal statutory suits,” Chapman v. Houston

Welfare Rights Org., 441 U.S. 600, 618 (1979), or “allow[s]

jurisdiction without respect to the amount in controversy for

claims which in fact have nothing to do with ‘civil rights,’” id.

at 620.

     [T]he Congress that enacted § 1343(4) was primarily
     concerned with providing jurisdiction for actions dealing
     with the civil rights enumerated in 42 U.S.C. § 1985, and
     most notably the right to vote. While the words of [that]
     statute[] are not limited to the precise claims which
     motivated their passage, it is inappropriate to read the

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      jurisdictional provisions to encompass new claims which
      fall well outside the common understanding of their
      terms.

Id. at 621.

      In Chapman, the Supreme Court held that the Social Security

Act is not a statute providing for “civil rights” within the

meaning of § 1343(a)(4).          Id. at 623.     Similarly, the complaint in

this case does not allege a violation of any federal statute

providing for the protection of civil rights.                  Just as the Social

Security   Act   is    not   an    “Act    of    Congress      providing   for   the

protection of civil rights,” none of the federal statutes cited in

Hightower’s complaint provide for the protection of civil rights.

Therefore, there is no jurisdiction under 28 U.S.C. § 1343(a)(4).

      2.   Federal-Question Jurisdiction under 28 U.S.C. § 1331

      Hightower also alleges subject-matter jurisdiction under 28

U.S.C. § 1331, which provides for federal jurisdiction over “all

civil actions arising under the Constitution, laws, or treaties of

the United States.”      Despite a reference to the “Constitution and

Bill of Rights of the United States of America” on page 2 of the

complaint under the heading “Judicial Notice/Cognizance with Claim

of   Rights,”    the   complaint     does       not   allege    a   constitutional

violation nor is there any allegation that Capital One has violated

any treaty. As discussed below, the complaint does not assert a

viable claim arising under any federal statute, either.

            a. Claim that Federal Reserve Notes are Not Money by Law


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      Hightower’s assertion that “Federal Reserve notes are not

money   by   law”    is   insufficient     to   invoke    federal-question

jurisdiction.    The theory that Federal Reserve notes are not legal

tender is meritless as a matter of law, as another district court

in this circuit has explained:

           In arguing that the system of lending money in the
      United States is unconstitutional, Plaintiff cites
      Sections 8 and 10 of Article I in the United States
      Constitution. . . . Nonetheless, ever since the Supreme
      Court ruled in “The Legal-Tender Cases,” in 1884, Courts
      have consistently held that neither of these provisions
      of the Constitution renders the country’s current money-
      lending system unconstitutional. See Julliard v. Greenman
      (“The Legal-Tender Cases”), 110 U.S. 421, 447-48, 4 S.
      Ct. 122, 28 L. Ed. 204 (1884) (holding that Congress has
      the power of making the notes of the United States a
      legal tender in payment of private debts, and that such
      power is not restricted by the fact that its exercise may
      affect the value of private contracts); United States v.
      Ri[f]en, 577 F.2d 1111, 1113 (8th Cir. 1978) (art. I, §
      10 of the Constitution does not “limit Congress’ power to
      declare what shall be legal tender for all debts,” and
      the fact that the type of money in use is neither gold
      nor silver does not render a loan unconstitutional);
      Foret v. Wilson, 725 F.2d 254 (5th Cir. 1984) (dismissing
      plaintiff’s argument that only gold and silver coin may
      be constituted legal tender by the United States); Edgar
      v. Inland Steel Co., 744 F.2d 1276, 1277 (7th Cir. 1984)
      (finding untenable plaintiff’s argument that federal
      reserve notes are not “money” because they are not backed
      by gold and silver specie); L.R. Nixon v. Phillipoff, 615
      F. Supp. 890 (N.D. Ind. 1985) (finding that plaintiff’s
      [sic] misinterpreted art. I, §§ 8 and 10 of the
      Constitution, and holding that Section 10 acts only to
      “remove from the states the inherent sovereign power to
      declare currency, thus leaving Congress the sole
      declarant of what constitutes legal tender”); Kolb v.
      Naylor, 658 F. Supp. 520 (N.D. Iowa 1987) (finding that
      the loans to plaintiffs constituted the lending of money
      and the creation of a debt, rather than the creation of
      money); United States v. Schiefen, 926 F. Supp. 877
      ([]D.S.D. 1995) (noting that Schiefen’s argument that
      United States currency is unconstitutional “unbacked

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      paper” has been rejected by numerous courts); State ex
      rel. White v. Mack, 93 Ohio St. 3d 572, 757 N.E.2d 353,
      355 (Ohio 2001) (citing Baird v. Cty. Assessors of Salt
      Lake & Utah Ctys., 779 P.2[2d] 676, 680 (Utah 1989))
      (finding that the provision in art. I, § 10 of the United
      States Constitution is not a directive to states to use
      only gold or silver coins, but is “merely a restriction
      preventing states from establishing their own legal
      tender other than gold or silver coins”).

           Nixon v. Phillipoff provides a thorough analysis of
      why courts consider federal reserve notes to be a
      constitutional form of legal tender. See 615 F. Supp.
      893. In Nixon, plaintiff, a pro se litigant, sued the
      individual who had filed a mortgage foreclosure action
      against him, the clerk of court who had accepted the
      filing fee for that foreclosure, and the judge who had
      accepted jurisdiction over the foreclosure. See id. at
      890. Plaintiff’s argument rested, in part, on his
      assertion that art. I, § 10, clause 1 of the United
      States Constitution requires a state to accept and
      recognize only gold and silver coin as legal tender. See
      id. at 893. The court, however, rejected Nixon’s
      argument, concluding:

            Nixon’s interpretation of article 1, § 10
            creates a rather curious inconsistency with
            article 1, § 8, clause 5. If states can only
            recognize gold and silver coin as legal
            tender, then Congress does not have complete
            power to declare what shall constitute legal
            tender for payment of all debts, for a
            declaration that a treasury note or federal
            reserve note was legal tender would fly in the
            face of the restriction of § 10. While this is
            the conclusoin [sic] which Nixon wants this
            court to reach (in effect declaring federal
            reserve notes illegal), it flies in the face
            of the clear import of § 8, clause 5’s
            unrestricted language. The power to coin money
            necessarily carries with it the power to
            declare what is money, and the constitution
            does not limit Congress to gold and silver
            coin ... It strains logic and constitutional
            interpretation to claim that the framers of
            the constitution sought to limit Congress’
            power to coin money via an implication derived
            from a restriction directed not at Congress
            but at the states.


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            Id. at 893. Moreover, the court explained that,

            Nixon has misinterpreted the import of § 10’s
            prohibition. Courts have uniformly interpreted
            § 10 as prohibiting states from declaring
            anything other than gold or silver coin as
            legal tender ... yet [“The Legal-Tender
            Cases”] do not interpret § 10 as requiring
            states to accept only gold and silver coin as
            tender, nor could they, as they both recognize
            the unrestricted power of Congress to declare
            what shall constitute legal tender, including
            bills of credit, treasury notes, and federal
            reserve notes. In short, § 10 acts only to
            remove from the states the inherent sovereign
            power to declare currency, thus leaving
            Congress   the   sole    declarant   of   what
            constitutes legal tender. Thus ... the states
            are constitutionally compelled to accept
            [federal reserve notes] as legal tender.

            Id.

           In this case, where Plaintiff’s arguments all rest
      on his assertion that, according to art. I, §§ 8, and 10
      of the constitution, Defendants unconstitutionally
      created money, his argument fails as a matter of law.
      Private parties may enter into transactions to trade
      whatever they agree upon as having equal value, and they
      are not limited to gold and silver coins. . . . Though
      Plaintiff asserts that Defendants’ loans were unlawful
      because they did not provide him with any “real, gold or
      silver backed money” as constitutionally mandated, as
      evidenced above, Courts have long held that such
      transactions are both legal and constitutional. Hence,
      Plaintiff’s claims are entirely without merit.

Rudd v. KeyBank, N.A., No. C2-05-CV-0523, 2006 WL 212096, at *4-6

(S.D. Ohio Jan. 25, 2006)(emphasis in original); see also Rahman El

v. First Franklin Fin. Corp., No. 09-cv-10622, 2009 WL 3876506, at

*7 (E.D. Mich. Nov. 17, 2009)(same, collecting cases).

            b. Claim/Jurisdiction under 42 U.S.C. § 1983

      Hightower’s claim under 42 U.S.C. § 1983 is insufficient to

invoke federal jurisdiction. In order "[t]o state a claim under §

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1983, a plaintiff must allege the violation of a right secured by

the Constitution and laws of the United States and must show that

the alleged deprivation was committed by a person acting under

color of state law."     Leach v. Shelby Cnty. Sheriff, 891 F.2d 1241,

1244 (6th Cir. 1989)(quoting West v. Atkins, 487 U.S. 42, 48

(1988)).    The defendant named in the complaint, Capital One, is a

private company. In general, private companies and corporations do

not act under color of state law.         See Hayes v. Allstate Ins. Co.,

95 F. Supp. 2d 832, 836 (W.D. Tenn. 2000)(citing American Mfrs.

Mut. Ins. Co. v. Sullivan, 526 U.S. 40, 52 (1999)(holding that

action of private, state-regulated insurance company not under

color of state law); Rendell-Baker v. Kohn, 457 U.S. 830, 840-42

(1982)(holding that private school's decisions not attributable to

state despite extensive state regulation of school); Blum v.

Yaretsky, 457 U.S. 991, 1008-12 (1982)(holding that nursing home

not a state actor despite extensive state regulation of the

industry); Jackson v. Metro. Edison Co., 419 U.S. 345, 358-59

(1974)(holding that heavily regulated electric company's decision

is not a state action); Adams v. Vandemark, 855 F.2d 312, 317 (6th

Cir. 1988)(holding private corporation not a state actor despite

being subject to state regulation).            There are no allegations

whatsoever in the complaint that reasonably suggest that Capital

One engaged in conduct that could be construed as “state action.”

Accordingly, the complaint fails to state a claim under 42 U.S.C.

§ 1983, and 42 U.S.C. § 1983       is not a basis for federal question


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jurisdiction. It is recommended that any claim under 42 U.S.C. §

1983 be dismissed for failure to state a claim.

            c.     Claim under the Electronic Funds Transfer Act, 15
                   U.S.C. § 1693 et seq.,(Compl., D.E. 1 ¶¶ 26-30 )

      The Electronic Funds Transfer Act, 15 U.S.C. § 1693 et seq.

(“EFTA”) was enacted as part of the comprehensive Consumer Credit

Protection Act, 15 U.S.C. §§ 1601-1693r (“CCPA”) and “protects

individual    consumer      rights   by    ‘provid[ing]    a    basic      framework

establishing the rights, liabilities, and responsibilities of

participants in electronic fund transfer systems.’” Clemmer v. Key

Bank Nat’l Ass’n, 539 F.3d 349, 351 (6th Cir. 2008)(citing 15

U.S.C. § 1693(b)).          Because EFTA is a remedial statute, it is

accorded     “‘a   broad,    liberal      construction     in    favor      of    the

consumer.’”      Id.   (quoting Begala v. PNC Bank, Ohio, Nat’l Ass’n,

163 F.3d 948, 950 (6th Cir. 1998)).

      Under the EFTA, the term “electronic fund transfer” means any

transfer of funds, other than a transaction originated by check,

draft, or similar paper instrument, which is initiated through an

electronic terminal, telephonic instrument, or computer or magnetic

tape so as to order, instruct, or authorize a financial institution

to debit or credit an account.                 Such term includes, but is not

limited to, point-of-sale transfers, automated teller machine

transactions,      direct    deposits      or     withdrawals   of       funds,   and

transfers     initiated     by   telephone.          15   U.S.C.     §     1693a(7).

Electronic fund transfers covered by the Act have three components:

1) a transfer of funds, 2) initiation by electronic means, and 3)

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a debit or credit to a consumer account.

        Here, Hightower alleges in her complaint that she initiated an

EFT   transfer        by    sending     a   paper    check    marked     “EFT   ONLY”   by

certified       mail,      not    by    electronic     transfer.         Her    attempted

transaction is therefore clearly not covered by the EFTA, and her

allegations are insufficient to demonstrate any violation of the

EFTA.    Accordingly, the complaint fails to state a claim under the

EFTA,     and       the    EFTA    is    not    a    basis    for   federal      question

jurisdiction. It is recommended that any claim under the EFTA be

dismissed for failure to state a claim.

               d.     Claim under the Fair Debt Collection Practices Act
                      (“FDCPA”), 15 U.S.C. § 1692 et seq. (Compl., D.E. 1
                      ¶¶ 31-35)

        Hightower alleges that Capital One violated 15 U.S.C. §

1692(d)(5) of the FDCPA, which is also part of the CCPA, by making

eight phone calls to her home between October 29, 2012, and

November 28, 2012.               Hightower fails, however, to state a claim

under the FDCPA, because the complaint fails to allege that Capital

One is a “debt collector” within the meaning of the statute. (D.E.

1 ¶¶ 2.)        The purpose of the FDCPA is “to eliminate abusive debt

collection practice by debt collectors.”                     15 U.S.C. § 1692.     Under

the FDCPA, a “debt collector” is defined as “any person who uses

any instrumentality of interstate commerce or the mails in any

business the principal purpose of which is the collection of any

debts    . . . .”         15 U.S.C. § 1692a(6).        Capital One, as a creditor,

cannot    be     sued      under    the     FDCPA.      Collins     v.    Mortg.    Elec.


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Registration Sys., Inc., No. 3:11-cv-00264, 2012 WL 610191, at *7

(M.D. Tenn. Feb. 24, 2012)(dismissing FDCPA claim “[b]ecause the

instant Defendants are creditors”),             report and recommendation

adopted, 2012 WL 848041 (M.D. Tenn. Mar. 12, 2011).             Hightower’s

complaint fails to allege facts demonstrating that Capital One’s

principal purpose is collecting debts.          Accordingly, the complaint

fails to state a claim under the FDCPA, and FDCPA is not a basis

for federal question jurisdiction. It is recommended that any claim

under the FDCPA be dismissed for failure to state a claim.

            d.    Claim under the Consumer Credit Protection Act,
                  15 U.S.C. § 1601 et seq.

      In the count entitled “VIOLATION OF CONSUMER CREDIT PROTECTION

ACT,” without citation to any specific statute, Hightower alleges

that she “has an expectation of privacy to be free from harassing,

oppressing and annoying telephone calls within the confines of her

home and the defendant’s actions invaded and harmed her expectation

of privacy.”     (Compl., D.E. 1 at ¶ 37.)        Presumably, Hightower is

referring to the phone calls she alleges Capital One made between

October   29,    2012,   and   November   28,    2012,   and   is    referring

specifically to 15 U.S.C. § 1692(d)(5), which is part of the FDCPA

of the CCPA.       For the same reasons previously set forth in

connection with Hightower’s claims for violation of the FDCPA,

Hightower fails to state a claim under the CCPA, and violation of

the CCPA is not a basis for federal jurisdiction. It is recommended

that any claim under the CCPA be dismissed for failure to state a

claim.

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      In sum, Hightower fails to state in her complaint a viable

claim arising under any federal law, and therefore the court lacks

subject-matter jurisdiction under 28 U.S.C. § 1331.

      3.   Diversity Jurisdiction

      Although the complaint does not allege diversity jurisdiction,

the   court    must   also   consider    whether     it   has   subject    matter

jurisdiction based on diversity under 28 U.S.C. § 1332.              According

to 28 U.S.C. § 1332, “[t]he district courts shall have original

jurisdiction of all civil actions where the matter in controversy

exceeds the sum or value of $75,000, exclusive of interest and

costs, and is between . . . citizens of different States.”                     The

plaintiff, however, has failed to allege sufficient facts in her

complaint     to   establish   diversity       jurisdiction.      Diversity     of

citizenship means that the action is between “citizens of different

States.”      28 U.S.C. § 1332(a).       A federal court has jurisdiction

under § 1332 only if there is “complete diversity between all

plaintiffs and all defendants.”              Lincoln Prop. Co. v. Roche, 546

U.S. 81, 89 (2005)(citations omitted).              “To establish diversity

jurisdiction, one must plead the citizenship of the corporate and

individual parties.”         Naartex Consulting Corp. v. Watt, 722 F.2d

779, 792 n.20 (D.C. Cir. 1983); see also Johnson v. New York, 315

Fed. App’x 394, 395 (3d Cir. 2009)(per curiam); Sanders v. Clemco

Indus., 823 F.2d 214, 216 (8th Cir. 1987)(complaint did not

properly allege diversity jurisdiction); Leys v. Lowe’s Home Ctrs.,


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Inc., 601 F. Supp. 2d 908, 912-13 (W.D. Mich. 2009)(complaint and

notice    of       removal    did       not    adequately     establish       diversity

jurisdiction); Ellis v. Kaye-Kibbey, No. 1:07-cv-910, 2008 WL

2696891, at *2-3 (W.D. Mich. July 1, 2008)(dismissing complaint for

failure   adequately         to    allege      facts    establishing     diversity     of

citizenship despite conclusory allegation that diversity exists);

5 Charles Alan Wright & Arthur R. Miller, Federal Practice and

Procedure      §    1208    (3d    ed.    2004).        Pursuant   to    28   U.S.C.    §

1332(c)(1), “a corporation shall be deemed to be a citizen of any

State by which it has been incorporated and of the State where it

has its principal place of business.”

      Hightower       has    failed      to    allege    sufficient     facts   in   her

complaint to establish diversity jurisdiction. The complaint does

not allege the citizenship of any of the parties.                       The complaint

states “Plaintiff Fannie Hightower (“Plaintiff”) is a natural

person who resides at c/o 4017 Clubview Drive, Memphis [Near 38125]

Tennessee      republic,”         but    the   complaint    does   not    allege     her

citizenship.         (Compl., D.E. 1 ¶ 1.)              The complaint alleges that

Capital One is headquartered in Plano, Texas, but contains no

allegations as to Capital One’s place of incorporation or principal

place of business. Thus, the court lacks diversity jurisdiction.

D.    The Remaining State-Law Claims

      Hightower purports to assert claims under state law for

extortion (Compl., D.E. 1 ¶¶ 16-20) and fraud (Compl., D.E. 1.                         ¶¶




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 21-25).2

       1.     Jurisdiction over Remaining State-Law Claims

           As discussed above, the court has determined that every

 federal claim asserted by Hightower should be dismissed for failure

 to state a claim and lack of federal subject-matter jurisdiction.

 Without a basis for federal jurisdiction, the court should not

 exercise supplemental jurisdiction over any state law claims by

 Moore.     See 28 U.S.C. § 1367(c)(3)(“The district court may decline

 to exercise supplemental jurisdiction over a claim under subsection

 (a) if . . . the district court has dismissed all claims over which

 it has original jurisdiction.”).           Accordingly, it is recommended

 that any remaining state-law claims be dismissed pursuant to 28

 U.S.C. § 1367(c)(3).

     2.      Dismissal of Remaining State-Law Claims for Failure to
             State a Claim Pursuant to Rule 12(b)(6)

     The state-law claims should also be dismissed for failure to

state a claim because the complaint fails to state any plausible

claims under state law.

             a.   Claim for Extortion (Compl., D.E. 1 ¶¶ 16-20)

     Hightower attempts to allege a cause of action for extortion.

She claims that Capital One engaged in intentional extortion when it

“misrepresented    that   Plaintiff       could   only   discharge   debt    with

certified     funds,”   (Id.   ¶   18),    and    that   “said   extortion    and


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       In the sections entitled “Injunctive Relief” and “Declaratory
 Relief,” there are no factual allegations. To the extent these
 sections set forth remedies sought and not causes of actions, these
 two sections fail to state any plausible claim.

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intentional misrepresentations were made by the Defendants with the

intent to induce fear in the Plaintiff to deprive her of monies that

she did not owe to Defendant,” (Id., ¶ 18).

     Under Tennessee law, extortion is a crime.           Tenn. Code Ann. §

39-14-112.    The extortion statute provides:

     Extortion. - (a) A person commits extortion who uses
     coercion upon another person with the intent to:
     (1) Obtain property, services, any advantage or immunity;
          or
     (2) Restrict unlawfully another’s freedom of action.
     (b) It is an affirmative defense to prosecution for
          extortion that the person reasonably claimed:
     (1) Appropriate restitution or appropriate indemnification
     for harm done; or
     (2) Appropriate compensation for property or lawful
     services.
     (c) Extortion is a Class D felony.

Tenn. Code Ann. § 39-14-112.

     The     statute   provides   no    civil   remedy.   Tennessee    courts

specifically have held that a civil cause of action for extortion

based on the Tennessee criminal extortion statute is not actionable.

See e.g, Perry v. Conley, No. 02A01-9812-CV-00369, 1999 WL 270430,

at *4 (Tenn. Ct. App. May 5, 1999) (“[w]e know of no statutory or

common law authority-except in states where statutes provide for

civil penalties for the crime of extortion-which would allow [the

plaintiff] to recover damages for ‘extortion’”); Wykle v. Valley

Fidelity Bank & Trust Co., 658 S.W.2d 96, 99 (Tenn. Ct. App. 1983)

(“nor do we know of a civil action - except in states where their

statutes provide for civil penalties for the crime of extortion”).

It is recommended that Hightower’s claim for extortion be dismissed

for failure to state a claim.

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           b.    Claim for Fraud (Compl., D.E. 1 ¶¶ 21-25)

     Under Rule 9(b) of the Federal Rules of Civil Procedure, “[i]n

alleging fraud or mistake, a party must state with particularity the

circumstances constituting fraud or mistake.” See Advocacy Org. for

Patients & Providers v. Auto Club Ins. Ass’n, 176 F.3d 315, 322 (6th

Cir. 1999)(“‘[A]llegations of fraudulent misrepresentation[s] must

be made with sufficient particularity and with a sufficient factual

basis to support an inference that they were knowingly made.’”)

(quoting Coffey v. Foamex L.P., 2 F.3d 157, 162 (6th Cir. 1993)).

          [A] complaint is sufficient under Rule 9(b) if it
     alleges the time, place, and content of the alleged
     misrepresentation on which [the deceived party] relied;
     the fraudulent scheme; the fraudulent intent of the
     defendants; and the injury resulting from the fraud, and
     enables defendants to prepare an informed pleading
     responsive to the specific allegations of fraud.

United States ex rel. Poteet v. Medtronic, Inc., 52 F.3d 503, 518

(6th Cir. 2009)(internal quotation marks omitted).            “A court need

not accept claims that consist of no more than mere assertions and

unsupported or unsupportable conclusions.”           Sanderson v. HCA-The

HealthCare Co., 447 F.3d 873, 876 (6th Cir. 2006)(citing Kottmyer v.

Maas, 436 F.3d 684, 688 (6th Cir. 2006)).

     In order to state a claim for fraud under Tennessee law, a

plaintiff must plead the following elements: (1) a representation of

an existing or past fact; (2) the representation was false when

made; (3) the representation was in regard to a material fact, (4)

the false representation was made knowingly, without belief in its

truth, or recklessly; (5) the plaintiff reasonably relied on the

misrepresentation; and (6) the plaintiff suffered damages as a
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result of the misrepresentation.          Walker v. Sunrise Pontiac-GMC

Truck, Inc., 249 S.W.3d 301, 311 (Tenn. 2008); see also Dobbs v.

Guenther, 846 S.W.2d 270, 274 (Tenn. Ct. App. 1992)(grouping the

requirements into four elements).

     Upon review of the Hightower's complaint, and construing all

inferences in Hightower’s favor, Hightower has failed to plead a

claim of fraud, even under the lenient standard applied to pro se

plaintiffs.    Hightower does not allege that she was damaged as a

result of any false statement by Capital One.          Capital One advised

Hightower that her attempted EFT transaction was not an acceptable

form of payment and was not applied to her debt.             From the facts

before the court, Hightower cannot establish the elements required

for fraud under Tennessee law.         Hightower has failed to plead a

claim for fraud with particularity as required by Rule 9, in that

she failed to identify any false statement allegedly made by Capital

One, and much less, the time and date of any false representations.

It is recommended that Hightower’s claim for fraud be dismissed for

failure to state a claim.

                           III.   RECOMMENDATION

     For the foregoing reasons, it is recommended that this case be

dismissed sua sponte for failure to state a claim on which relief

may be granted pursuant to 28 U.S.C. 1915(e)(2)(B)(ii) and for lack

of subject matter jurisdiction pursuant to Rules 12(b)(1) and (h)(3)

of the Federal Rules of Civil Procedure, and judgment be entered for

the defendant.

     Respectfully submitted this 10th day of June, 2013.
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                                          s/Diane K. Vescovo
                                          DIANE K. VESCOVO
                                          UNITED STATES MAGISTRATE JUDGE



                                   NOTICE

Within fourteen (14) days after being served with a copy of this
report and recommended disposition, a party may serve and file
written objections to the proposed findings and recommendations. A
party may respond to another party’s objections within fourteen (14)
days after being served with a copy.      FED. R. CIV. P. 72(b)(2).
Failure to file objections within fourteen (14) days may constitute
a waiver of objections, exceptions, and further appeal.




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